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                               UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA

                                   CIVIL PRETRIAL MINUTES

                                     JUDGE WILLIAM ALSUP


Date: February 9, 2011                                     Total Hearing Time: 17 minutes

Case No. C10-03561 WHA

Title: ORACLE AMERICA, INC. v. GOOGLE INC.

Plaintiff Attorney(s): Michael Jacobs; Marc David Peters; Richard Ballinger; Diane Gabl
                       Steven Holtzman; Roman Swoopes and Andrew Temkin

Defense Attorney(s): Bruce Baber; Scott Weingaertner; Steven Snyder; Renny Hwang

Deputy Clerk: Dawn Toland                           Court Reporter: Kathy Wyatt


                                     PROCEEDINGS

1)   Discovery Dispute - HELD

2)



Continued to     for Further Case Management Conference
Continued to     for Pretrial Conference
Continued to     for Trial

ORDERED AFTER HEARING:


Parties met and conferred in the Court’s jury room from 8:00 am to 11:00 am. Parties stated for the
record they agreed to further supplement the disclosures by 2/18/11 and will update the infringement
and non-infringement contentions by 4/1/11. The interrogatory responses have also been resolved.
